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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION



 IN RE: ETHIOPIAN AIRLINES                             Case No. 19 C 2170 (Consolidated)
 FLIGHT ET 302 CRASH
                                                       Hon. Jorge L. Alonso



                                              ORDER

        For the following reasons, plaintiffs’ motion to enforce the stipulation [1565] is denied.
Defendant Boeing’s motion in limine to exclude evidence and argument about passengers’ alleged
pain and suffering before impact [1597] is denied. Boeing’s motion in limine to exclude
speculative testimony regarding whether passengers experienced conscious pain and suffering on
impact [1593] is granted. The Court reserves ruling on the remaining motions for now. To the
extent that this ruling changes the parties’ positions as to any of the remaining motions, they should
notify the Court promptly in a joint status report.

                                          STATEMENT

        Pending before the Court are numerous motions in limine and Daubert motions filed by
parties on both sides in advance of the upcoming June 20, 2023 trial date. The Court heard
argument on a subset of these motions on May 23, 2023, and a final pretrial conference is set for
June 5, 2023. Based on the written briefing and oral argument, the Court makes this limited written
ruling in hopes of streamlining later proceedings by resolving a dispute between the parties about
the applicable substantive law. The issue, raised most directly in defendants’ motion in limine #7
(ECF No. 1597) but lurking in the background of a number of motions, is whether plaintiffs can
recover for emotional distress that their decedents suffered during the flight prior to suffering any
physical injury.

        Plaintiffs assert claims of negligence sounding in products liability against Boeing under
two Illinois statutes: the Wrongful Death Act, 740 ILCS 180/2, and the Survival Act, 755 ILCS
5/27-6. In motion in limine #7, Boeing argues that evidence of pre-impact fright and terror should
be excluded because it is not relevant to plaintiffs’ claims under either statute. Boeing argues that
evidence of pre-impact fright and terror is not relevant to the survival claim because Illinois law
provides that survival damages are only available for the conscious pain and suffering flowing
from the passengers’ injuries, and the evidence tends to show that the passengers had no time to
experience conscious pain and suffering after injury because they died immediately upon impact.
And Boeing explains that such evidence is not relevant to the wrongful death claim, either, because
that claim concerns the grief and sorrow of plaintiffs, who are not the passengers but the
passengers’ surviving family members and beneficiaries, and their grief and sorrow is established
by evidence of what happened in the beneficiaries’ lives, rather than in the decedent passengers’
lives.
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       For the following reasons, the Court rules that damages for pre-impact emotional distress
are available to plaintiffs in this case, to the extent that they are able to prove them at trial,
regardless of whether they can prove a pre-impact physical injury. Based on this conclusion,
defendant’s motion in limine #7 is denied.

  I.   Effect of Stipulation

         As an initial matter, plaintiffs argue that the Court need not reach the merits of this issue
because the terms of Boeing’s stipulation to liability prevent Boeing from arguing that plaintiffs
are not entitled to recover damages for emotional distress. Boeing stipulated to “its liability for the
compensatory damages proximately caused by the ET 302 accident” and that “the measure and
elements of Plaintiffs’ damages are to be determined under Illinois law.” (Agreed Stipulation of
the Parties at 1, ECF No. 1217-1.) Boeing agreed that plaintiffs are “entitled to recover . . . the
full measure of damages permitted under Illinois law and pursuant to the elements of recoverable
damages under Illinois law.” (Id. at 3, ¶ B.1.) And it agreed that plaintiffs would be “permitted to
introduce all relevant and admissible evidence at trial regarding the decedents and their
beneficiaries’ alleged compensatory damages,” which “may include evidence of . . . the pre-
impact, pre-death pain and suffering and emotional distress of the decedent as permitted under
Illinois law.” (Id. at 5, ¶ D.4.)

       The Court does not interpret these provisions the way plaintiffs do. Based on the plain
language, considering the stipulation as a whole and in its full context, the Court interprets these
provisions to mean that Boeing agreed to pay whatever damages are available under Illinois law,
in amounts to be determined and based on rulings to be made in later proceedings on damages.
The Court does not read the stipulation to prevent Boeing from making any argument about what
damages are or are not available under Illinois law.

         The best argument plaintiffs make to the contrary is a textual one based on the language of
paragraph D.4, which states that the “relevant and admissible evidence . . . may include . . . pre-
impact, pre-death pain and suffering and emotional distress of the decedent as permitted by Illinois
law.” Plaintiffs contended at argument that to read this provision to permit Boeing to argue that
plaintiffs are barred from introducing evidence of “pre-impact, pre-death pain and suffering and
emotional distress” would require improperly reading the word “as” to mean “if.” But the phrase
“as permitted” sometimes does mean something like “if permitted” or “to the extent permitted.”
See, e.g., Sanchez v. Bd. of E. N.M., 361 F. App’x 980, 983 (10th Cir. 2010) (“The Agreement
provided only that Mr. Sanchez had the right to file a motion with the court for fees ‘as permitted
in the Federal Voting Rights Act,’ which is what he did. The district court enforced this provision
when it determined that Mr. Sanchez was not entitled to fees as permitted under the Act because
he was not a ‘prevailing party,’ as required under 42 U.S.C. § 1973l(e). The court’s ruling,
therefore, was not contrary to the parties’ agreement.”); The Hanover Ins. Co. v. Clark, No. 05 C
2162, 2006 WL 2375428, at *2 (N.D. Ill. Aug. 15, 2006) (“If you fail to remedy [the violations]
in the time and manner permitted by the Contract, we will seek all redress and remedies available
to us under the Contract and as permitted by law, including possible termination of the Contract.”).
Considering the stipulation as a whole, the Court does not read Boeing to have stipulated to the



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availability of damages for emotional distress; rather, Boeing agreed to pay whatever damages are
available under Illinois law, which “may include” emotional distress damages, but may not.

       The Court does not read the stipulation to bar Boeing from making the arguments it makes
here about what damages are available under Illinois law, so plaintiffs’ motion [1565] is denied,
and the Court must proceed to the merits of the dispute.

    II.   Survival Claim

        Lacking binding authority that is directly on point, Boeing relies on several federal district
court decisions for its position that damages for pre-impact fright and terror are not recoverable
because emotional distress must be caused by bodily injury to be compensable in damages under
the Survival Act. Estate of Love v. Rassmussen, No. 115CV01207SLDJEH, 2018 WL 10613262,
at *7 (C.D. Ill. July 18, 2018) (relying on In re Aircrash Disaster Near Roselawn, Ind. on Oct. 31,
1994, 926 F. Supp. 736, 742 (N.D. Ill. 1996) (relying on In re Air Crash Disaster Near Chicago,
Ill. on May 25, 1979, 507 F. Supp. 21, 23 (N.D. Ill. 1980))). 10F




         Of course, though they may be persuasive, federal district court decisions are not
precedential. See Camreta v. Greene, 563 U.S. 692, 709 n.7 (2011) (“‘A decision of a federal
district court judge is not binding precedent in either a different judicial district, the same judicial
district, or even upon the same judge in a different case.’”) (quoting 18 J. Moore et al., Moore’s
Federal Practice § 134.02[1][d] (3d ed. 2011)). Because they are non-precedential, district court
decisions carry no more weight than the force of their reasoning demands. The Court agrees with
plaintiffs that the reasoning of these cases is not persuasive as applied to this case, to the extent
that they conflate two concepts that the Illinois Supreme Court has taken pains to separate: on the
one hand, emotional distress as damages for negligence or other personal torts, and, on the other
hand, emotional distress as an element of the independent tort of negligent infliction of emotional
distress (“NIED”). See Cochran v. Securitas Sec. Servs. USA, Inc., 93 N.E.3d 493, 501 (Ill. 2017)
(addressing the issue in the context of the tort of tortious interference with the right to possess a
corpse) (citing Clark v. Children's Mem’l Hosp., 955 N.E.2d 1065, 1087 (Ill. 2011) (addressing
wrongful birth)).

        Boeing’s argument is rooted in In re Air Crash Disaster Near Chicago, which reasoned
that the plaintiff could not recover for pre-impact fright and terror because “Illinois courts” had
“previous[ly] refus[ed] to recognize claims for damages based on the plaintiff’s fear or
apprehension of danger.” 507 F. Supp. at 24. But the cases cited in that decision addressed the
question of whether the plaintiffs could assert a claim for the tort of NIED where the emotional
distress was not caused by or contemporaneously with a physical impact. Id. at 23 (citing
Carlinville Nat. Bank v. Rhoads, 380 N.E.2d 63, 65-66 (Ill. App. Ct. 1978), Benza v. Shulman Air
Freight, 361 N.E.2d 91, 93-94 (Ill. App. Ct. 1977), Rosenberg v. Packerland Packing Co., 370
N.E.2d 1235, 1238 (Ill. App. Ct. 1977) (citing Braun v. Craven, 51 N.E. 657, 664 (Ill. 1898))).


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  Love also cited Schweihs v. Chase Home Finance, LLC, 77 N.E.3d 50, 59-60 (Ill. 2016). That
case is not directly on point (although Justice Garman’s special concurrence contains a helpful
discussion of relevant issues) because it concerns negligent infliction of emotional distress claims,
rather than survival claims rooted in products-liability negligence claims.
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The more recent decisions cited by plaintiffs show that this question is separate from the issue of
whether a plaintiff can recover emotional distress damages for negligence or another tort, see
Cochran, 93 N.E.3d at 501 (citing Clark, 955 N.E.2d at 1087), and Illinois courts have not strictly
required a physical impact when the plaintiff asserts a claim for a tort other than NIED.

         In reply, Boeing points out that Cochran, Clark, and like cases do not involve survival
claims, and no Illinois case has ever allowed the recovery of pre-impact emotional distress
damages on a survival claim. Further, Boeing argues that the Survival Act should be read narrowly,
under the general principle that statutes “in derogation of the common law are strictly construed,”
Lites v. Jackson, 387 N.E.2d 1118, 1119 (Ill. App. Ct. 1979). Historically, Boeing explains, Illinois
law did not permit Survival Act claimants to recover for their decedents’ personal injuries if their
“death resulted from the tortious conduct which caused the injury.” Murphy v. Martin Oil Co., 308
N.E.2d 583, 584 (Ill. 1974). The Illinois Supreme Court abandoned this rule in Murphy and
allowed an accident victim’s survivors to recover for their decedent’s post-accident pain and
suffering, where the decedent was injured in a fire and died nine days later. Id. at 583-84, 586-87.
That decision did not address damages for pre-impact emotional distress, and, Boeing argues, this
Court should not assume that such damages are available without any authority expressly so
stating.

         But the Court does not agree that Murphy should be read to set the outer limits of a Survival
Act claim. In fact, Murphy explained that its decision to allow damages for pain and suffering
under the Survival Act was within a general trend of “enlarging of survival statues.” 308 N.E.2d
at 586 (citing Prosser, Handbook of the Law of Torts, at 901 (4th ed. 1971)). There is nothing in
the text of the Survival Act that limits the relief available to claimants to particular kinds of
damages: the Act simply provides that, “[i]n addition to the actions which survive by the common
law,” other enumerated actions “also survive,” including “actions to recover damages for an injury
to the person.” 755 ILCS 5/27-6. The Court fails to see why it should read the statute or Murphy
to prevent decedent’s survivors from recovering damages to the same extent that the decedent
could have done, had he not succumbed to his injuries. Boeing has not identified anything in
Illinois law that prevents the recovery of pre-impact emotional distress damages, and Illinois courts
have explained—albeit in factually and legally unrelated contexts—that emotional distress
damages are available for negligence even without any accompanying physical injury.

         Where that leaves the Court is with little to go on in determining how to apply Illinois law
to this case. Plaintiffs’ best cases are not on point; defendant’s best cases are either not on point or
they are not persuasively reasoned. The task of a federal court applying an uncertain issue of state
law is to “make a predictive judgment as to how the supreme court of the state would decide the
matter if it were presented presently to that tribunal.” Allstate Ins. Co. v. Menards, Inc., 285 F.3d
630, 635 (7th Cir. 2002). This prediction may take into account trends in the state’s courts as well
as “well-reasoned decisions in other jurisdictions.” Cmty. Bank of Trenton v. Schnuck Markets,
Inc., 887 F.3d 803, 811 (7th Cir. 2018)). Where the guidance from the courts of the state in question
is lacking, federal courts may “examine the reasoning of courts in other jurisdictions addressing
the same issue . . . for whatever guidance about the probable direction of state law they may
provide.” In re Zimmer, NexGen Knee Implant Prod. Liab. Litig., 884 F.3d 746, 751 (7th Cir.
2018) (internal quotation marks omitted).



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        One persuasively reasoned decision from outside of Illinois, cited by plaintiffs, is Haley v.
Pan American World Airways, Inc., 746 F.2d 311, 314-15 (5th Cir. 1984). There, the court had to
predict whether Louisiana would allow “recovery for pre-impact apprehension in anticipation of
imminent death,” where Louisiana courts had never expressly allowed any such recovery.
However—not unlike Illinois courts in the present context—they had allowed recovery for
emotional distress “during a negligently produced ordeal.” Id. at 314. The Fifth Circuit reasoned
as follows:

       We are not prepared to conclude that the Louisiana courts would sever such an
       “ordeal” into before and after impact components. This mirrors our reasoning in
       Solomon v. Warren, 540 F.2d 777 (5th Cir. 1976), cert. denied, 434 U.S. 801, 98
       S.Ct. 28, 54 L.Ed.2d 59 (1977). In Solomon, plaintiffs’ parents died when, after
       radioing for aid, their small aircraft crashed into the sea. While there was admittedly
       no evidence as to the length of time the couple suffered before death or whether
       they died immediately upon impact, the district court was “‘convinced that both of
       the deceased knew of the impending crash landing at sea, knew of the imminent
       dangers involved, and are certain to have experienced the most excruciating type
       of pain and suffering (the knowledge that one is about to die, leaving three
       cherished children alone).’” Id. at 792. In upholding the district court’s conclusion
       that Florida would permit recovery for the decedent’s conscious pain and suffering
       prior to death, we stated:

               While in the garden variety of claims under survival statutes,
               including the Florida Statute—fatal injuries sustained in automobile
               accidents and the like—the usual sequence is impact followed by
               pain and suffering, we are unable to discern any reason based on
               either law or logic for rejecting a claim because in this case as to at
               least part of the suffering, this sequence was reversed. We will not
               disallow the claims for this item of damages on that ground.

       Id. at 793 (citations omitted).

Haley, 746 F.2d at 314-15; see also Beynon v. Montgomery Cablevision Ltd. P’ship, 718 A.2d
1161, 1170-71 (Md. 1998) (reviewing numerous cases allowing damages for pre-impact fright and
terror, including Haley and Solomon, as well as cases rejecting them, including In re Air Crash
Disaster Near Chicago, and concluding that the plaintiffs could recover under Maryland law for
the decedent’s pre-impact emotional distress as his vehicle skidded 71.5 feet into traffic stopped
due to defendant’s negligence). Notably, the In re Air Crash Disaster Near Chicago case, like
Haley, cited and discussed Solomon, but it ultimately rejected Solomon’s reasoning as inconsistent
with Illinois law. However, as the Court explained above, it agrees with plaintiffs that that
conclusion rested on an interpretation of Illinois law that is outdated and no longer represents the
best prediction of how the Illinois Supreme Court would rule, given the court’s later
pronouncements. Thus, the Court finds nothing in Illinois law to prevent it from following Haley
and Solomon, and it is persuaded to follow those decisions by the force of their reasoning.




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        Boeing’s position is that, to the extent the Court grants its Daubert motions and excludes
plaintiffs’ experts’ opinions, plaintiffs have “no nonspeculative evidence about the alleged pain
and suffering before impact.” (Tr. at 35:14-17.) But, as it acknowledged at argument, Boeing
stipulated to the introduction of at least some “expert testimony” describing the “history of the
flight” and “the aircraft’s movements.” (Agreed Stipulation of the Parties at 2, ¶ A.2., ECF No.
1217-1.) Based on even a bare-bones version of that evidence, jurors could plainly draw a
reasonable inference, as in Haley, that the passengers experienced emotional distress as the aircraft
rose and fell, rose again, then plunged. See Haley, 746 F.2d at 315-16 (finding sufficient support
for the jury’s conclusion that the decedent suffered pre-impact fright and terror in evidence that
included a “videotape simulation of the takeoff and crash of Flight 759; a stipulation explaining
the known facts culled from investigation; and the videotaped testimony of both parties’ experts”);
see also Michael C v. Saul, 408 F. Supp. 3d 919, 927 (N.D. Ill. 2019) (“Common sense and human
experience have a role to play in all litigation.”) (citing authorities). This is not a case in which the
evidence will not support a conclusion that the passengers were more likely than not to have been
“aware of the danger” or “in fact suffered any pre-impact terror.” Haley, 746 F.2d at 316 (citing,
e.g., Shatkin v. McDonnell Douglas Corp., 727 F.2d 202, 206-07 (2d Cir. 1984), as an example of
a case—unlike Haley—in which there was “no evidence the decedent-passenger was awake, let
alone aware that anything was wrong,” as the “rolling of the plane, the only possible indicia of
danger to this particular passenger, was as compatible with normal airline traffic patterns as with
imminent disaster”); see also Shu-Tao Lin v. McDonnell Douglas Corp., 742 F.2d 45, 53 (2d Cir.
1984) (explaining that there is “no intrinsic or logical barrier to recovery for the fear experienced
during a period in which the decedent is uninjured but aware of an impending death” and similarly
distinguishing Shatkin).

        Boeing suggested in its reply brief and at argument that the Court should approach its
motion in limine #7 by deciding its Daubert motions first, and then asking whether, to the extent
the Court agrees with Boeing and rules to exclude certain expert testimony plaintiffs have
proffered, that leaves any admissible evidence supporting pre-impact emotional distress damages.
The Court has taken a different tack because it finds that much of the debate in the Daubert briefing
is over whether plaintiffs suffered a pre-impact physical injury, a question that, the Court now
concludes, has no bearing on whether plaintiffs can recover pre-impact emotional distress
damages. A jury could reasonably infer from the evidence that will be presented at trial that the
passengers on ET 302 perceived that they were going to crash, horrifically, to their certain death.
Boeing has not demonstrated that Illinois authority bars plaintiffs from recovering for the pre-
impact emotional distress they suffered as a result, and the Court concludes that the Illinois
Supreme Court likely would permit recovery of such damages.

III.    Wrongful Death Claim

        Regarding the wrongful death claim, Boeing recognizes that the manner and circumstances
of death are a factor in determining what damages surviving beneficiaries can recover for the grief
and sorrow they experienced at the death of their loved ones, and non-speculative factual evidence
of what happened on board flight ET 302 is part and parcel of the manner and circumstances of
death. See Hammond v. Sys. Transp., Inc., 942 F. Supp. 2d 867, 874 (C.D. Ill. 2013) (“[D]eath, as
ordinarily understood, includes more than the mere fact that a person is dead. The intent of the
legislature, based on the meaning of these key terms, [namely, death, grief, sorrow, and mental

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suffering,] was to compensate for the spouse’s and next of kin’s emotional consequences from the
end of decedent’s life, including the process or manner of death.”) (emphasis added). This is
logical, as Boeing has stipulated that jurors will be told that the “history of the flight and the
aircraft’s movements will be described to [them] through expert testimony.” (Agreed Stipulation
of the Parties at 2, ¶ A.2., ECF No. 1217-1.) However, Boeing argues that it does not follow that
plaintiffs may “speculate on what they think may have happened on that plane” by attempting to
establish evidence of “imagined pain and suffering unsupported by the evidence.” (Tr. of May, 23,
2023 Hr’g at 104:16-23).

        To the extent Boeing’s argument is that the beneficiaries may not testify that their grief
was increased by their contemplation of the emotional distress their loved ones must have suffered
in their final moments, the Court rejects it. Boeing does not appear to dispute that what happened
during these final moments is part of the “process or manner of death.” And, as the Court explained
above, there will be evidence describing the “history of the flight” and “the aircraft’s movements”
during those final few moments, the substance of which will not be new to the beneficiaries. Based
on this evidence, contemplation of what the passengers must have experienced as the airplane
crashed is hardly mere speculation. There is sufficient evidence to support a reasonable inference
that these passengers experienced pre-impact fright and terror, and that experience is part of the
“process or manner of death.” Therefore, the Court is not inclined to bar evidence of how
contemplation of that emotional distress affects the plaintiffs’ grief.

       Therefore, the Court denies Boeing’s motion in limine #7 (ECF No. 1597). Boeing’s
motion in limine to exclude speculative testimony regarding whether passengers experienced
conscious pain and suffering on impact (ECF No. 1593) is granted, as the motion appears to be
unopposed, and in any case plaintiffs have no need to establish that the passengers experienced
conscious pain and suffering on impact. The Court reserves ruling on the remaining motions for
now. To the extent that this ruling changes the parties’ positions as to any of the remaining motions,
they should notify the Court promptly in a joint status report.

SO ORDERED.                                                   ENTERED: May 30, 2023




                                                              ______________________
                                                              HON. JORGE ALONSO
                                                              United States District Judge




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